Case 1:18-cv-00279-CFC-CJB Document 116 Filed 04/01/20 Page 1 of 1 PageID #: 2293




                                             April 1, 2020

  VIA CM/ECF
  The Honorable Colm F. Connolly
  U.S. District Court for the District of Delaware
  844 North King Street, Unit 31
  Wilmington, DE 19801

         RE:     Bial – Portela & CA S.A., et al. v. Lupin Limited, et al.
                 C.A. Nos. 18-279, 18-304, 18-312, 18-336, 18-341, 18-342, 18-382
                 and 18-775-CFC

  Dear Judge Connolly:

          Defendants write to respectfully request permission to move under Fed. R. Civ. P. 12(c)
  for a judgment on the pleadings of non-infringement of the two formulation patents – i.e., nos.
  ’431 and ’244 – in all of the above-captioned actions under the disclosure-dedication doctrine.
  Defendants believe that the facts herein fall precisely under Your Honor’s rulings in Eagle
  Pharms., Inc. v. Hospira, Inc., C.A. No. 18-1074 (CFC), Mem. Op. (D.I. 35) at 6-8 (D. Del. Dec.
  16, 2019) (granting Rule 12(b)(6) dismissal motion), and Eagle Pharms., Inc. v. Slayback
  Pharma LLC, 382 F. Supp. 3d 341, 345-48 (D. Del. 2019) (granting Rule 12(c) dismissal
  motion), because the alleged equivalents are specifically and unambiguously disclosed in the
  patent specifications as alternatives, but are not claimed. Defendants’ motion would completely
  resolve all infringement issues regarding the ’431 and ’244 patents as to all Defendants such that
  Plaintiffs’ claims relating to these patents would be dismissed. Defendants have met and
  conferred with Plaintiffs, who do not agree to the filing of the proposed motion.

          Defendants have utilized this letter request in an effort to avoid burdening the Court with
  extensive briefing. If the Court prefers, Defendants will provide the Court with their proposed
  motion papers. Defendants propose to rely upon one short common legal section, with separate
  short sections specific to each respective Defendant’s formulation. The word count would be
  well below the allowed limit. If Your Honor would prefer another format, Defendants will be
  happy to accommodate the Court.

                                                Respectfully submitted,

                                                /s/ John C. Phillips, Jr.

                                                John C. Phillips, Jr. (#110)

  cc: Clerk of the Court via CM/ECF
      All counsel of record via CM/ECF and e-mail
